                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI

 BILLIE RODRIGUEZ, DANIEL ERWIN,
 MICHAEL B. ACKERMAN, KYLE
 FOREMAN, DREW SCRUGGS, MARY
 KANE MCQUEENY, EMILY THORPE,
 JENNIFER TRITT, and THE BOARD OF
 COUNTY COMMISSIONERS OF THE
 COUNTY OF FORD, individually and on
 behalf of all others similarly situated,                 Civil Action No. 4:24-00803

                                                       The Honorable Stephen R. Bough
                         Plaintiffs,
                  v.                                  ORAL ARGUMENT REQUESTED
 EXXON MOBIL CORPORATION,
 CHEVRON USA INC., CHEVRON PHILLIPS
 CHEMICAL CORPORATION, DUPONT de
 NEMOURS, INC., CELANESE
 CORPORATION, DOW INC., DOW
 CHEMICAL COMPANY, EASTMAN
 CHEMICAL COMPANY,
 LYONDELLBASELL INDUSTRIES, N.V.,
 and AMERICAN CHEMISTRY COUNCIL,

                         Defendants,

 And

 STATE OF KANSAS, ex rel. KRIS W.
 KOBACH, Attorney General,

                         Defendant-Intervenor.

AMERICAN CHEMISTRY COUNCIL, INC.’S MOTION TO DISMISS UNDER RULE 12(B)(6)

       In addition to fully joining the joint motions to dismiss, pursuant to this Court’s order

granting the Joint Motion for Extension of Time, Docket 58, Defendant the American Chemistry

Council, Inc. (“ACC”) moves pursuant to Federal Rule of Procedure 12(b)(6) to dismiss Count 5




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of Plaintiffs’ Amended Complaint. 1 This motion is supported by ACC’s Suggestions in Support.

       ACC is not a merchant of plastics or plastics resin—it is a trade association. Plaintiffs’

allegations specific to ACC recognize ACC’s status. But Plaintiffs lose sight of this fact in their

scattershot, generalized group pleading approach, ultimately resulting in Plaintiffs’ unsupported

allegation of violation of the District of Columbia Consumer Protection Procedures Act, which

requires a “merchant-consumer” relationship.

       For the reasons expressed in ACC’s Suggestions in Support, ACC respectfully requests

that this Court dismiss Count 5 of Plaintiffs’ Amended Complaint against ACC.


Dated: March 10, 2025                                Respectfully submitted,

                                                     By: /s/ David L. Anderson

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                                                     ATTORNEYS FOR DEFENDANT
                                                     AMERICAN CHEMISTRY COUNCIL,
                                                     INC.



1
   ACC does not submit to the personal jurisdiction of this Court. Rather, ACC joined the jointly
filed Motion to Dismiss Pursuant to Rule 12(b)(2) as its “first responsive pleading,” thereby
preserving that defense. See, e.g., Blessing v. Chandrasekhar, 988 F.3d 889, 899 (6th Cir. 2021).
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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 10, 2025, I electronically filed the above

and foregoing document via the Court’s CM/ECF system, which will send notification of said

filing to all counsel of record.

                                                    /s/ David L. Anderson
                                                    David L. Anderson


                                                    ATTORNEY FOR DEFENDANT
                                                    AMERICAN CHEMISTRY COUNCIL,
                                                    INC.




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